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                      EXHIBIT 2
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 1               UNITED STATES DISTRICT COURT

 2            NORTHERN DISTRICT OF CALIFORNIA

 3                  SAN FRANCISCO DIVISION

 4                         ---o0o---

 5

 6    In Re: CATHODE RAY TUBE (CRT)    )
      ANTITRUST LITIGATION,            )
 7                                     )
                       Plaintiff,      )
 8    _________________________________)           Case No.
                                       )           07-5944 Sc
 9                                     )           MDL No. 1917
      This Document Relates to:        )
10                                     )
      ALL ACTIONS,                     )
11                                     )
      _________________________________)
12

13

14

15

16

17
           VIDEOTAPED DEPOSITION OF KERRY LEE HALL
18
                  WEDNESDAY, MARCH 21, 2012
19

20

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23

24

25   REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR


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         1   going to instruct you not to answer and divulge

         2   communication of the -- any reply.

         3              THE WITNESS:     Okay.

         4              MR. GRALEWSKI:    Do you want the question

10:27    5   read back?

         6              THE WITNESS:     Yes, please.

         7       Q.     BY MR. FOSTER:    I'll just repeat it.

         8              How long of a time period was it between

         9   the time that you got the email from Mr. Sullivan

10:27   10   and you responded the first time?

        11       A.     I would say probably within 24 hours.

        12       Q.     Was that initial -- was Mr. Sullivan your

        13   attorney at that time?

        14       A.     No.

10:27   15       Q.     Okay.

        16              MR. GRALEWSKI:    Object to the form of the

        17   question to the extent it calls for a legal

        18   opinion.    Vague and ambiguous as to time.

        19       Q.     BY MR. FOSTER:    Did you know Mr. Sullivan

10:28   20   previous to getting this email?

        21       A.     Yes.

        22       Q.     How did you know him?

        23       A.     From high school.

        24       Q.     You went to high school together?

10:28   25       A.     Yes.


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         1       A.    It would be the final decision of the

         2   Court, which would be the defendants on settlement.

         3       Q.    So it is your -- I'm sorry.         Go ahead.

         4   Did you finish your sentence?

11:04    5       A.    Yes.

         6       Q.    Okay.   What was the last part you said?

         7       A.    It would be the final decision of the

         8   court order.

         9       Q.    Do you have an understanding that the

11:04   10   defendants are responsible for your attorneys'

        11   fees?

        12       A.    Depending on the court order.

        13       Q.    What is your understanding of who is

        14   responsible for the litigation costs in this

11:04   15   matter?

        16       A.    I'll rely on my attorney for that.

        17       Q.    So you don't have an understanding of

        18   that; is that --

        19       A.    I am not responsible.

11:04   20       Q.    Do you know who is responsible?

        21       A.    Could you repeat the question again?

        22       Q.    Sure.   Do you know who is responsible for

        23   the litigation costs in this matter?

        24             MR. GRALEWSKI:   I'll object to the

11:05   25   question; vague and ambiguous as phrased.         This


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         1   calls for a legal opinion.

         2               You can answer the question if you're

         3   able.

         4               THE WITNESS:     I do not know.

11:05    5         Q.    BY MR. FOSTER:    Just so I understand, do

         6   you not know who is responsible or do you not

         7   understand the question?

         8         A.    I don't understand the completeness of

         9   your question.

11:05   10         Q.    Got you.   So let me see if I can rephrase

        11   it.    Do you -- my previous questions dealt with the

        12   fees that your attorneys would get or are getting.

        13         A.    Uh-huh.

        14         Q.    This question actually deals with the

11:05   15   costs -- you know, involved in litigating this case

        16   that your attorneys incur.

        17         A.    Uh-huh.

        18         Q.    And my question to you is:           Do you know

        19   who is responsible for those costs, paying those

11:05   20   costs?

        21               MR. GRALEWSKI:    Vague -- object to the

        22   form.      Vague and ambiguous.    Calls for a legal

        23   opinion.

        24               But you can answer the question if you

11:06   25   understand it.


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         1       Q.   Okay.   Did you request a discount on the

         2   television for any reason?

         3       A.   No.

         4       Q.   Do you recall if there were any promotions

11:46    5   for the products at the time you purchased it?

         6       A.   No, I don't recall.

         7       Q.   Was there a rebate for the product?

         8       A.   I don't believe so.

         9       Q.   Do you know -- do you remember if there

11:46   10   was a rebate from the manufacturer?

        11       A.   Not that I recall, no.

        12       Q.   Did the price of this product go up after

        13   you purchased it?

        14            MR. GRALEWSKI:    Object to the form.

11:46   15   Confusing.   Vague and ambiguous.       Lacks foundation.

        16            THE WITNESS:     I do not know that.

        17       Q.   BY MR. FOSTER:    Okay.    Looking back at

        18   Exhibit No. 55, does this indicate the method you

        19   used to pay for the product?

11:47   20       A.   Yes.

        21       Q.   And what method was that?

        22       A.   The Visa.

        23       Q.   And is that consistent with your

        24   recollection of when you purchased this product?

11:47   25       A.   Yes.


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         1            I'll represent that this is a document

         2   request that was issued by Toshiba America

         3   Information Systems, Inc. --

         4       A.   Uh-huh.

01:13    5       Q.   -- to the indirect purchaser plaintiffs in

         6   this matter.

         7       A.   Uh-huh.

         8       Q.   So my question to you is:        On Page 3, one

         9   of the requests in this document is:

01:13   10                "All documents relating to

        11                communications between you and any

        12                defendant."

        13       A.   Uh-huh.

        14       Q.   And my question is:      Have you searched for

01:13   15   documents within your possession this is -- that

        16   are responsive to this request?

        17       A.   No.

        18       Q.   If you look -- maybe we can short-circuit

        19   this a little bit.    Have you searched for documents

01:13   20   that are within your possession that are responsive

        21   to any of the requests contained in this document?

        22            MR. GRALEWSKI:    Object to the form of the

        23   question.   Many of the requests in this document

        24   relate to legal issues, and the -- to the extent it

01:14   25   calls for production of such documents, you know,


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         1   the question is improper.

         2            But to the extent you can answer the

         3   question that's asked without revealing any private

         4   attorney-client information, you can do so.

01:14    5       Q.   BY MR. FOSTER:    You can answer the

         6   question.

         7       A.   I do not know the answer to this, and I'll

         8   rely on my attorney.

         9       Q.   Are you saying you don't know whether

01:14   10   you've searched for documents responsive to

        11   requests in this document, or are you saying that

        12   you do know the answer but you're not answering

        13   because it's based on attorney-client privileged

        14   information?

01:15   15            Is it one of those?

        16       A.   I presented documents that was asked for

        17   by my attorney --

        18       Q.   Uh-huh.

        19       A.   -- and gave what was asked.

01:15   20       Q.   Okay.

        21       A.   Anything further, I'm relying on my

        22   attorney to make that.

        23       Q.   Okay.   Do you recall reviewing this

        24   document for the purpose of determining which

01:15   25   documents that are in your possession should be


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         1       Q.     BY MR. FOSTER:   Do you have any documents

         2   in your possession that are responsive to Request

         3   for Documents No. 7 that you did not give to your

         4   attorney?

01:31    5       A.     No.

         6              MR. GRALEWSKI:   Just a belated objection.

         7   Same objections.    Vague and ambiguous in -- as

         8   phrased.    Requires an interpretation, a legal

         9   interpretation of requests for production.      Calls

01:31   10   for legal opinion.

        11                 (Reporter marked Exhibit No. 58 for

        12                 identification.)

        13       Q.     BY MR. FOSTER:   Ms. Hall, the court

        14   reporter's just handed you a document that's been

01:33   15   marked as Defense Exhibit No. 58.

        16              Have you seen this document before?

        17       A.     Yes.

        18       Q.     When did you see this document?

        19       A.     I do not recall the exact date.

01:33   20       Q.     Can you give me an estimate on when you

        21   might have seen it?

        22       A.     I would have to assume it was presented

        23   with the initial packet that I reviewed with my

        24   attorney.

01:33   25       Q.     Okay.   Were you involved in preparing a


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         1       Q.    If you look at the next page, which is

         2   Page 21, in the middle of the paragraph there's a

         3   sentence that begins:

         4                 "Specifically, new indirect purchaser

02:32    5                 plaintiffs became aware of defendants'

         6                 unlawful, anticompetitive behavior

         7                 when antitrust authorities in the

         8                 United States, Europe, Japan and South

         9                 Korea raided the offices of various

02:33   10                 defendants in November 2007 as part of

        11                 an international investigation of

        12                 defendants' price-fixing activities."

        13             Do you see that?

        14       A.    Yes, I do.

02:33   15       Q.    Is that a complete and accurate statement

        16   and fully responsive to Interrogatory No. 18?

        17             MR. GRALEWSKI:    You know, Counsel, that

        18   question, as phrased, is misleading, in that you

        19   picked out one sentence from an otherwise

02:33   20   multi-sentence response and asked her if it was a

        21   complete and accurate response.

        22             So I am objecting that it is misleading on

        23   that basis.    It's also argumentative and harassing

        24   as phrased.

02:33   25       Q.    BY MR. FOSTER:    Ms. Hall, you can answer


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